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                                                                                       BNDBER,CLOSED
                                  U.S. District Court
                    Southern District of Florida (West Palm Beach)
                CRIMINAL DOCKET FOR CASE #: 9:24−mj−08554−BER−1

    Case title: USA v. Jeffries et al                             Date Filed: 10/22/2024

     Other court case number: 24cr423 Eastern District of New     Date Terminated: 10/22/2024
                              York − Long Island

    Assigned to: Magistrate Judge
    Bruce E. Reinhart

    Defendant (1)
    Michael S. Jeffries                   represented by Alek Daniel Ubieta
    42482−511                                            GrayRobinson, P.A.
    ENGLISH; YOB:1944                                    333 S.E. 2nd Avenue
    TERMINATED: 10/22/2024                               Suite 3200
                                                         Miami, FL 33131
                                                         305−416−6880
                                                         Email: alek.ubieta@gray−robinson.com
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED
                                                         Designation: Temporary

                                                         Brian H. Bieber
                                                         Gray−Robinson
                                                         3200
                                                         333 S.E. 2 Avenue
                                                         Miami, FL 33131
                                                         305−416−6880
                                                         Fax: 305−446−1766
                                                         Email: brian.bieber@gray−robinson.com
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED
                                                         Designation: Temporary

    Pending Counts                                       Disposition
    None

    Highest Offense Level
    (Opening)
    None

    Terminated Counts                                    Disposition
    None

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    Highest Offense Level
    (Terminated)
    None

    Complaints                                           Disposition
    Removal to the Eastern District
    of New York



    Plaintiff
    USA                                             represented by Gregory Schiller
                                                                   U.S. Attorney's Office
                                                                   500 S. Australian Ave.
                                                                   Suite 400
                                                                   West Palm Beach, FL 33401
                                                                   954−789−6285
                                                                   Email: gregory.schiller@usdoj.gov
                                                                   LEAD ATTORNEY
                                                                   ATTORNEY TO BE NOTICED
                                                                   Designation: Retained

     Date Filed     #   Docket Text
     10/24/2024    14   $10 million PSB secured and w/cosigners Entered as to Michael S. Jeffries Approved
                        by Magistrate Judge Bruce E. Reinhart. Please see bond image for conditions of
                        release. (tmn) (Additional attachment(s) added on 10/24/2024: # 1 Restricted Bond
                        with 7th Page) (tmn). (Entered: 10/24/2024)
     10/22/2024    15   ORDER OF REMOVAL ISSUED to the Eastern District of New York as to Michael S.
                        Jeffries Closing Case for Defendant. Signed by Magistrate Judge Bruce E. Reinhart on
                        10/22/2024. See attached document for full details. (tmn) (Entered: 10/24/2024)
     10/22/2024     8   WAIVER of Rule 5(c)(3)/Rule 40 Hearing by Michael S. Jeffries (tmn) (Entered:
                        10/23/2024)
     10/22/2024     7   PAPERLESS Minute Order for proceedings held before Magistrate Judge Bruce E.
                        Reinhart: Date of Arrest or Surrender: 10/22/2024. Initial Appearance in Rule
                        5(c)(3)/Rule 40 Proceedings as to Michael S. Jeffries held on 10/22/2024. Defendant
                        was present with counsel. Defendant was sworn. Defense counsel filed a temporary
                        appearance. Defendant was advised of the charges, rights and possible maximum
                        penalties. The Court set bond. Bond recommendation/set: Michael S. Jeffries (1) $10
                        million PSB secured and cosigned by Susan and Andrew Jeffries. The Court gave
                        Susan and Andrew Jeffries until COB 10/25 to sign the bond paperwork. The defendant
                        waived identity/removal hearing. All further proceedings to be held in the Eastern
                        District of New York. The Court ordered the defendant removed. Total time in court:
                        20 minutes. Attorney Appearance(s): (AUSA) Gregory Schiller, (TEMP) Alek Daniel
                        Ubieta, (TEMP) Brian H. Bieber (Digital 14:12:35) Signed by Magistrate Judge Bruce
                        E. Reinhart on 10/22/2024. (tmn) (Entered: 10/23/2024)
     10/22/2024     4


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                      NOTICE OF TEMPORARY ATTORNEY APPEARANCE: Brian H. Bieber
                      appearing for Michael S. Jeffries (tmn) (Entered: 10/23/2024)
     10/22/2024   3   NOTICE OF TEMPORARY ATTORNEY APPEARANCE: Alek Daniel Ubieta
                      appearing for Michael S. Jeffries (tmn) (Entered: 10/23/2024)
     10/22/2024   2   NOTICE OF HEARING as to Michael S. Jeffries, Matthew C. Smith Initial
                      Appearance − Rule 5(c)(3)/40 set for 10/22/2024 02:00 PM in West Palm Beach
                      Division before WPB Duty Magistrate Judge. (tmn) (Entered: 10/22/2024)
     10/22/2024   1   Magistrate Judge Removal of Indictment from the Eastern District of New York Case
                      number in the other District 24cr423 as to Michael S. Jeffries (1), Matthew C. Smith
                      (2). (tmn) (Entered: 10/22/2024)




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(Revised 03/2020)


                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                                                                                 TM
                             APPEARANCE BOND: __________________

                                      CASE NO.: __24-mj-8554-BER_                     Oct 24, 2024

UNITED STATES OF AMERICA:                                                                           WPB

                      Plaintiff,
v.                                                           USM # :42482-511

MICHAEL S. JEFFRIES,
                  Defendant,
____________________________________/

I, the undersigned defendant and I or we, the undersigned sureties, jointly and severally acknowledge that we and
our personal representatives, jointly and severally, are bound to pay the United States of America, the sum of
$ 10 million PSB secured by property in New York and
   cosigned by Susan Jeffries and Andrew Jeffries

                                   STANDARD CONDITIONS OF BOND

The conditions of this bond are that the defendant:

    1. Shall appear before this Court and at such other places as the defendant may be required to appear, in
accordance with any and all orders and directions relating to the defendant’s appearance in this case, including
appearance for violation of a condition of the defendant’s release as may be ordered or notified by this Court or
any other United States District Court to which the defendant may be held to answer or the cause transferred. The
defendant is required to ascertain from the Clerk of Court or defense counsel the time and place of all scheduled
proceedings on the case. In no event may a defendant assume that his or her case has been dismissed unless the
Court has entered an order of dismissal. The defendant is to abide by any judgment entered in such matter by
surrendering to serve any sentence imposed and obeying any order or direction in connection with such judgment.
This is a continuing bond, including any proceeding on appeal or review, which shall remain in full force and
effect until such time as the Court shall order otherwise.

   2. May not travel outside the Southern District of Florida unless otherwise approved by the Court prior to
any such travel. The Southern District of Florida consists of the following counties: Broward, Highlands, Indian
River, Martin, Miami-Dade, Monroe, Okeechobee, Palm Beach and St. Lucie.

   3. May not change his/her present address without prior notification and approval from the U.S. Probation
Officer or the Court.

   4. Must cooperate with law enforcement officers in the collection of a DNA sample if the collection is
required by 42 U.S.C. Section 14135a.

    5. Must not violate any federal, state or local law while on release in this case. Should the defendant come
in contact with law enforcement he/she shall notify the U.S. Probation Officer within 72 hours.


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                                                              CASE NUMBER: 24-mj-8554-BER
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                                      SPECIAL CONDITIONS OF BOND

In addition to compliance with the previously stated conditions of bond, the defendant must comply with the
special conditions checked below:

  a. Surrender all passports and travel documents, if any, to Pretrial Services and not obtain any travel documents
      during the pendency of the case;
  b. Report to Pretrial Services as follows: () as directed or___ time(s) a week in person and___ time(s) a week by
      telephone;
   c. Submit to substance abuse testing and/or treatment, contribute to the cost of services rendered based on ability
      to pay, as determined by the U.S. Probation Officer;
   d. Refrain from ____excessive OR ___abstain from alcohol use or any use of a narcotic drug or other controlled
      substance, as defined in section 102 of the Controlled Substances Act (21 U.S.C. §802), without a prescription by
      a licensed medical practitioner;
   e. Participate in a mental health assessment and/or treatment and contribute to the costs of services rendered
      based on ability to pay, as determined by the U.S. Probation Officer;
   f. Employment restriction(s):
   g. Maintain or actively seek full-time employment/education/volunteerism;
   h. Maintain or begin an educational program;
  i. Avoid all contact with victims or witnesses to the crimes charged, except through counsel. The AUSA shall
      provide defense counsel and pretrial services with the names of all victims or witnesses. The prohibition
      against contact does not take effect until defense counsel receives the list. The prohibition against contact
      applies only to those persons on the list, but the prosecutor may expand the list by sending written notice to
      defense counsel and pretrial services.;
   j. Avoid all contact with co-defendants and defendants in related cases, except through counsel;
  k. Refrain from possessing a firearm, destructive device or other dangerous weapons and shall surrender (if any),
      their concealed weapons permit to the U.S. Probation Office;
  l. None of the signatories may sell, pledge, mortgage, hypothecate, encumber, etc., the real property, until the
      bond is discharged, or otherwise modified by the Court;
   m. May not visit commercial transportation establishment: airports, seaport/marinas, commercial bus terminals,
       train stations, etc.;
   n. Defendant shall consent to the U.S. Probation Officer conducting periodic unannounced examinations of the
       defendant’s computer equipment at his/her place of employment or on the computer at his/her residence which
       may include retrieval and copying of all data from the computer(s) and any internal or external peripherals to
       ensure compliance with this condition and/or removal of such equipment for the purpose of conducting a more
       thorough inspection; and consent at the direction of the U.S. Probation Officer to have installed on the defendant’s
       computer(s), at the defendant’s expense, any hardware or software systems to monitor the defendant’s computer
       use;




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 o. LOCATION MONITORING PROGRAM: The defendant shall be monitored by the form of location
     monitoring and shall abide by all technology requirements as noted below, as well as contribute to the costs of
     services rendered based on () ability to pay as determined by the U.S. Probation Officer – or – ( ) paid by
     U.S. Probation;
       Location monitoring technology at the discretion of the officer
         Radio Frequency (RF) monitoring (Electronic Monitoring)
         Active GPS Monitoring
         Voice Recognition
         Curfew: You are restricted to your residence every day from      to     , or as directed by the supervising
         officer.
                                                       OR
       Home Detention: You are restricted to your residence at all times except for:
        () medical
        ( ) substance abuse or mental health treatment
        () court appearances
        () attorney visits or court ordered obligations
        () religious services
        ( ) employment
        () other activities as pre-approved by the supervising officer
   p. RESIDENTIAL RE-ENTRY CENTER: The defendant shall reside at a residential re-entry center or
      halfway house and abide by all the rules and regulations of the program. The cost to be paid by ( )Pretrial
      Services or ( ) based on the defendant’s ability to pay. You are restricted to the residential re-entry
      center/halfway house at all times except for:
      ( ) employment
      ( ) education
      ( ) religious services
      ( ) medical, substance abuse, or mental health treatment
      ( ) attorney visits
      ( ) court appearances
      ( ) court ordered obligations
      ( ) reporting to Pretrial Services
      ( ) other
__ q. Third-Party Custody: _________________________________will serve as a third party custodian and will
      report any violations of the release conditions to the U.S. Probation Officer. Failure to comply with these
      requirements, the third party custodian can be subject to the provisions of 18 U.S.C. § 401, Contempt of
      Court.
__ r. The defendant shall submit his person, property, residence, vehicle, papers, computers, (as defined in 18
      U.S.C. 1030(e)(1)), other electronic communication or data storage devices or media, or office, to a search
      conducted by a United States Probation Officer. The defendant must warn any other occupants that the
      premises may be subject to searches pursuant to this condition. Any search must be conducted at a reasonable
      time and in a reasonable manner.


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                                                           DEFENDANT: Michael S. Jeffries
                                                           CASE NUMBER: 24-mj-8554-BER
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  s. Mandatory Adam Walsh Conditions: Defendant shall abide by specified restrictions on personal
  associations, place of abode, or travel, to avoid all contact with an alleged victim of the crime and with a
  potential witness who may testify concerning the offense; report on a regular basis to a designated law
  enforcement agency, pretrial services agency or other agency; comply with a specified curfew (with electronic
  monitoring) and refrain from possessing a firearm, destructive device or other dangerous weapons.
  t. Additional Sex Offense Conditions For Defendants Charged or Convicted of a Sexual Offense:
        1. ( ) Defendant may not have contact with victim(s), or any child under the age of 18, unless approved
                   by the Court or allowed by the U.S. Probation Officer.
        2. ( ) The defendant shall not possess or use any data encryption technique or program and shall
                   provide passwords and administrative rights to the U.S. Probation Officer.
        3. ( ) Defendant shall participate in specialized sex offender evaluation and treatment, if necessary,
                   and to contribute to the costs of services rendered based on ability to pay, as determined by
                   the U.S. Probation Office.
        4. ( ) Defendant shall not possess, procure, purchase or otherwise obtain any internet capable device
                   and/or computer. Additionally, the defendant is prohibited from using another individual’s
                   computer or device that has internet capability.
        5. ( ) Defendant is prohibited from establishing or maintaining any email account or social media
                   account. Additionally, the defendant is prohibited from using another individual’s email account
                   or social media account. Must provide monthly or upon request, personal phone and credit card
                   billings to Pretrial Services to confirm there are no services with any internet services provider.
        6. ( ) Defendant is not permitted to enter places where children congregate including, but not limited
                   to any play areas, playgrounds, libraries, children-themed restaurants, daycares, schools,
                   amusement parks, carnivals/fairs, unless approved by the U.S. Probation Officer.
        7. ( ) The defendant shall not be involved in any children’s or youth organizations.
        8. ( ) Defendant is prohibited from viewing, owning, or possessing any obscene, pornographic, or
                   sexually stimulating visual or auditory material, including telephone, electronic media,
                   computer programs, or computer services.
        9. ( ) The defendant shall participate in a maintenance polygraph examination to periodically
                  investigate the defendant’s compliance. The polygraph examination shall specifically address
                  only defendant’s compliance or non-compliance with the special conditions of release and shall
                  not inquire into the facts of the pending criminal case against defendant. The defendant will
                  contribute to the costs of services rendered (co-payment) based on ability to pay or availability
                  of third party payment.
 u. May travel to and from: _ SDFL & EDNY (all points in between to get to point A to point B) , and must
  notify Pretrial Services of travel plans before leaving and upon return.
 v. Comply with the following additional conditions of bond:
     May not use medical marijuana. Must reside at address given out in open Court. May have contact with co-
    defendants but cannot discuss the case. Susan and Andrew Jeffries have until COB Friday 10/25 unless
    modified by the judge in New York.




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                    PENALTIES AND SANCTIONS APPLICABLE TO DEFENDANT

        Violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant
for the defendant’s arrest, a revocation of release, and order of detention, as provided in 18 U.S.C. §3148,
forfeiture of any bail posted, and a prosecution for contempt as provided in 18 U.S.C. §401, which could result
in a possible term of imprisonment or a fine.

       The commission of any offense while on pretrial release may result in an additional sentence upon
conviction for such offense to a term of imprisonment of not more than ten years, if the offense is a felony; or a
term of imprisonment of not more than one year, if the offense is a misdemeanor. This sentence shall be
consecutive to any other sentence and must be imposed in addition to the sentence received for the offense itself.

        Title 18 U.S.C. §1503 makes it a felony criminal offense punishable by imprisonment and a $250,000 fine
to intimidate or attempt to intimidate a witness, juror or officer of the court; 18 U.S.C. §1510 makes it a felony
criminal offense punishable by imprisonment and a $250,000 fine to obstruct a criminal investigation; 18 U.S.C.
§1512 makes it a felony criminal offense punishable by imprisonment and a $250,000 fine to tamper with a
witness, victim or informant; and 18 U.S.C. §1513 makes it a felony criminal offense punishable by imprisonment
and a $250,000 fine to retaliate against a witness, victim or informant, or threaten to do so.

         It is a criminal offense under 18 U.S.C. §3146, if after having been released, the defendant knowingly
fails to appear as required by the conditions of release, or to surrender for the service of sentence pursuant to a
court order. If the defendant was released in connection with a charge of, or while awaiting sentence, surrender
for the service of a sentence, or appeal or certiorari after conviction for:

    (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more
        the defendant shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;
    (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, the
        defendant shall be fined not more than $250,000 or imprisoned for not more than five years, or both;
    (3) any other felony, the defendant shall be fined not more than $250,000 or imprisoned not more than two
        years, or both;
    (4) a misdemeanor, the defendant shall be fined not more than $100,000 or imprisoned not more than one
        year, or both.

        A term of imprisonment imposed for failure to appear or surrender shall be consecutive to the sentence of
imprisonment for any other offense. In addition, a failure to appear may result in the forfeiture of any bail posted,
which means that the defendant will be obligated to pay the full amount of the bond, which may be enforced by
all applicable laws of the United States.




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     MIME−Version:1.0
     From:cmecfautosender@flsd.uscourts.gov
     To:flsd_cmecf_notice
     Bcc:
     −−Case Participants: David Raben (aida@crimlawfirm.com, daveraben@crimlawfirm.com,
     lidiaperea@crimlawfirm.com, maitedepara@crimlawfirm.com), Alek Daniel Ubieta
     (alek.ubieta@gray−robinson.com), Brian H. Bieber (adela.sijercic@gray−robinson.com,
     alek.ubieta@gray−robinson.com, brian.bieber@gray−robinson.com,
     paulette.gonzalez@gray−robinson.com), Gregory Schiller (briana.duque@usdoj.gov,
     caseview.ecf@usdoj.gov, gregory.schiller@usdoj.gov, usafls−brdkt@usdoj.gov,
     usafls−hqdkt@usdoj.gov), Joseph Nascimento (aida@crimlawfirm.com,
     ehernandez@crimlawfirm.com, joenascimento@crimlawfirm.com), Magistrate Judge Bruce E.
     Reinhart (ber−nef@flsd.uscourts.gov)
     −−Non Case Participants: Federal Public Defender (fls_ecf@fd.org)
     −−No Notice Sent:

     Message−Id:24882604@flsd.uscourts.gov
     Subject:Activity in Case 9:24−mj−08554−BER USA v. Jeffries et al Initial Appearance − Rule
     5(c)(3)/Rule 40
     Content−Type: text/html

                                               U.S. District Court

                                           Southern District of Florida

     Notice of Electronic Filing


     The following transaction was entered on 10/23/2024 at 12:08 PM EDT and filed on 10/22/2024

     Case Name:       USA v. Jeffries et al
     Case Number:     9:24−mj−08554−BER
     Filer:
     Document Number: 7(No document attached)
     Docket Text:
      PAPERLESS Minute Order for proceedings held before Magistrate Judge Bruce E. Reinhart:
     Date of Arrest or Surrender: 10/22/2024. Initial Appearance in Rule 5(c)(3)/Rule 40
     Proceedings as to Michael S. Jeffries held on 10/22/2024. Defendant was present with
     counsel. Defendant was sworn. Defense counsel filed a temporary appearance. Defendant
     was advised of the charges, rights and possible maximum penalties. The Court set bond.
     Bond recommendation/set: Michael S. Jeffries (1) $10 million PSB secured and cosigned by
     Susan and Andrew Jeffries. The Court gave Susan and Andrew Jeffries until COB 10/25 to
     sign the bond paperwork. The defendant waived identity/removal hearing. All further
     proceedings to be held in the Eastern District of New York. The Court ordered the defendant
     removed. Total time in court: 20 minutes. Attorney Appearance(s): (AUSA) Gregory Schiller,
     (TEMP) Alek Daniel Ubieta, (TEMP) Brian H. Bieber (Digital 14:12:35) Signed by Magistrate
     Judge Bruce E. Reinhart on 10/22/2024. (tmn)


     9:24−mj−08554−BER−1 Notice has been electronically mailed to:

     Alek Daniel Ubieta &nbsp &nbsp alek.ubieta@gray−robinson.com

     Brian H. Bieber &nbsp &nbsp brian.bieber@gray−robinson.com, Adela.Sijercic@gray−robinson.com,
     Alek.Ubieta@gray−robinson.com, paulette.gonzalez@gray−robinson.com

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     David Raben &nbsp &nbsp daveraben@crimlawfirm.com, aida@crimlawfirm.com,
     lidiaperea@crimlawfirm.com, maitedepara@crimlawfirm.com

     Gregory Schiller &nbsp &nbsp gregory.schiller@usdoj.gov, Briana.Duque@usdoj.gov,
     CaseView.ECF@usdoj.gov, usafls−brdkt@usdoj.gov, usafls−hqdkt@usdoj.gov

     Joseph Nascimento &nbsp &nbsp joenascimento@crimlawfirm.com, aida@crimlawfirm.com,
     ehernandez@crimlawfirm.com

     9:24−mj−08554−BER−1 Notice has not been delivered electronically to those listed below and will be
     provided by other means. For further assistance, please contact our Help Desk at 1−888−318−2260.:




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     Judge Bruce E. Reinhart (ber−nef@flsd.uscourts.gov)
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     Docket Text:
      NOTICE OF HEARING as to Michael S. Jeffries, Matthew C. Smith Initial Appearance − Rule
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     Magistrate Judge. (tmn)


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